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8                             UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
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11   MICHAEL WILSON,                         )   Case No.: 1:16-CV-00720 JLT
                                             )
12               Plaintiff,                  )   SCHEDULING ORDER (Fed. R. Civ. P. 16)
13         v.                                )
                                             )   Pleading Amendment Deadline: 1/13/2017
14   CITY OF BAKERSFIELD, et al.,            )
                                             )   Discovery Deadlines:
15               Defendants.                 )         Initial Disclosures: 9/13/2016
16                                           )         Non-Expert: 8/21/2017
                                                       Expert: 10/16/2017
17                                                     Mid-Discovery Status Conference:
                                                       1/17/2017 at 8:15 a.m.
18
                                                 Non-Dispositive Motion Deadlines:
19
                                                       Filing: 10/27/2017
20                                                     Hearing: 11/27/2017

21                                               Dispositive Motion Deadlines:
                                                        Filing: 12/8/2017
22                                                      Hearing: 1/5/2018
23
                                                 Pre-Trial Conference:
24                                                      2/5/2018 at 10:00 a.m.
                                                        510 19th Street, Bakersfield, CA
25
26                                               Trial: 3/27/2018 at 8:30 a.m.
                                                        510 19th Street, Bakersfield, CA
27                                                      Jury trial: 5-7 days

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1    I.       Date of Scheduling Conference
2             August 31, 2016.

3    II.      Appearances of Counsel
4             Fred Kumpel appeared on behalf of Plaintiff.

5             Heather Cohen appeared on behalf of Defendants.

6    III.     Pleading Amendment Deadline

7             Any requested pleading amendments are ordered to be filed, either through a stipulation or

8    motion to amend, no later than January 13, 2016.

9    IV.      Fictitiously-Named Defendants
10            All claims against “Doe” Defendants are hereby DISMISSED.

11   V.       Discovery Plan and Cut-Off Date
12            The parties are ordered to exchange the initial disclosures required by Fed. R. Civ. P. 26(a)(1)

13   on or before September 13, 2016.

14            The parties are ordered to complete all discovery pertaining to non-experts on or before August

15   21, 2017, and all discovery pertaining to experts on or before October 16, 2017.

16            The parties are directed to disclose all expert witnesses1, in writing, on or August 31, 2017, and

17   to disclose all rebuttal experts on or before September 29, 2017. The written designation of retained

18   and non-retained experts shall be made pursuant to Fed. R. Civ. P. Rule 26(a)(2), (A), (B), and (C)

19   and shall include all information required thereunder. Failure to designate experts in compliance

20   with this order may result in the Court excluding the testimony or other evidence offered through such

21   experts that are not disclosed pursuant to this order.

22            The written designation of retained and non-retained experts shall be made pursuant to Fed. R.

23   Civ. P. 26(a)(2), (A), (B), and (C) and shall include all information required thereunder. Failure to

24   designate experts in compliance with this order may result in the Court excluding the testimony or other

25   evidence offered through such experts that are not disclosed pursuant to this order.

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               In the event an expert will offer opinions related to an independent medical or mental health evaluation, the
28   examination SHALL occur sufficiently in advance of the disclosure deadline so the expert’s report fully details the
     expert’s opinions in this regard.

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1           The provisions of Fed. R. Civ. P. 26(b)(4) and (5) shall apply to all discovery relating to experts

2    and their opinions. Experts must be fully prepared to be examined on all subjects and opinions

3    included in the designation. Failure to comply will result in the imposition of sanctions, which may

4    include striking the expert designation and preclusion of expert testimony.

5           The provisions of Fed. R. Civ. P. 26(e) regarding a party’s duty to timely supplement

6    disclosures and responses to discovery requests will be strictly enforced.

7           A mid-discovery status conference is scheduled for January 17, 2017 at 8:15 a.m. before the

8    Honorable Jennifer L. Thurston, U.S. Magistrate Judge, located at 510 19th Street, Bakersfield,

9    California. Counsel SHALL file a joint mid-discovery status conference report one week before the

10   conference. Counsel also SHALL lodge the status report via e-mail to JLTorders@caed.uscourts.gov.

11   The joint statement SHALL outline the discovery counsel have completed and that which needs to be

12   completed as well as any impediments to completing the discovery within the deadlines set forth in this

13   order. Counsel may appear via CourtCall, providing a written notice of the intent to appear

14   telephonically is provided to the Magistrate Judge's Courtroom Deputy Clerk no later than five court

15   days before the noticed hearing date.

16   VI.    Pre-Trial Motion Schedule

17          All non-dispositive pre-trial motions, including any discovery motions, shall be filed no later

18   than October 27, 2017, and heard on or before November 27, 2017. The Court hears non-dispositive

19   motions at 9:00 a.m. at the United States District Courthouse in Bakersfield, California.

20          No motion to amend or stipulation to amend the case schedule will be entertained unless it
21   is filed at least one week before the first deadline the parties wish to extend. Likewise, no written

22   discovery motions shall be filed without the prior approval of the assigned Magistrate Judge. A party

23   with a discovery dispute must first confer with the opposing party in a good faith effort to resolve by

24   agreement the issues in dispute. If that good faith effort is unsuccessful, the moving party promptly

25   shall seek a telephonic hearing with all involved parties and the Magistrate Judge. It shall be the

26   obligation of the moving party to arrange and originate the conference call to the court. To schedule

27   this telephonic hearing, the parties are ordered to contact the Courtroom Deputy Clerk, Susan Hall, at

28   (661) 326-6620 or via email at SHall@caed.uscourts.gov. Counsel must comply with Local Rule 251

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1    with respect to discovery disputes or the motion will be denied without prejudice and dropped
2    from the Court’s calendar.

3           All dispositive pre-trial motions shall be filed no later than December 8, 2017, and heard no

4    later than January 5, 2018, before the Honorable Jennifer L. Thurston, United States Magistrate Judge,

5    at the United States District Courthouse in Bakersfield, California. In scheduling such motions,

6    counsel shall comply with Fed. R. Civ. P. 56 and Local Rules 230 and 260.

7    VII.   Motions for Summary Judgment or Summary Adjudication
8           At least 21 days before filing a motion for summary judgment or motion for summary

9    adjudication, the parties are ORDERED to meet, in person or by telephone, to confer about the issues

10   to be raised in the motion.

11          The purpose of the meeting shall be to: 1) avoid filing motions for summary judgment where a

12   question of fact exists; 2) determine whether the respondent agrees that the motion has merit in whole

13   or in part; 3) discuss whether issues can be resolved without the necessity of briefing; 4) narrow the

14   issues for review by the court; 5) explore the possibility of settlement before the parties incur the

15   expense of briefing a motion; and 6) to develop a joint statement of undisputed facts.

16          The moving party SHALL initiate the meeting and SHALL provide a complete, proposed

17   statement of undisputed facts at least five days before the conference. The finalized joint statement of

18   undisputed facts SHALL include all facts that the parties agree, for purposes of the motion, may be

19   deemed true. In addition to the requirements of Local Rule 260, the moving party shall file the joint

20   statement of undisputed facts.

21          In the notice of motion the moving party SHALL certify that the parties have met and conferred

22   as ordered above, or set forth a statement of good cause for the failure to meet and confer. Failure to

23   comply may result in the motion being stricken.
24   VIII. Pre-Trial Conference Date
25          February 5, 2018, at 10:00 a.m. at the United States District Courthouse in Bakersfield,

26   California, before the Honorable Jennifer L. Thurston, United States Magistrate Judge.

27          The parties are ordered to file a Joint Pretrial Statement pursuant to Local Rule 281(a)(2).

28   The parties are further directed to submit a digital copy of their pretrial statement in Word format,

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1    directly to Judge Thurston's chambers, by email at JLTorders@caed.uscourts.gov.

2            Counsels' attention is directed to Rules 281 and 282 of the Local Rules of Practice for the

3    Eastern District of California, as to the obligations of counsel in preparing for the pre-trial conference.

4    The Court will insist upon strict compliance with those rules. In addition to the matters set forth in the

5    Local Rules the Joint Pretrial Statement shall include a Joint Statement of the case to be used by the

6    Court to explain the nature of the case to the jury during voir dire.

7    IX.     Trial Date
8            March 27, 2018, at 8:30 a.m. at the United States District Courthouse in Bakersfield,

9    California, before the Honorable Jennifer L. Thurston, United States Magistrate Judge.

10           A.     This is a jury trial.

11           B.     Counsels' Estimate of Trial Time: 5-7 days.

12           C.     Counsels' attention is directed to Local Rules of Practice for the Eastern District of

13   California, Rule 285.

14   X.      Settlement Conference

15           The parties will request a settlement conference if they decide that one would likely to be

16   fruitful.

17   XI.     Request for Bifurcation, Appointment of Special Master, or other Techniques
18           to Shorten Trial

19           Not applicable at this time.

20   XII.    Related Matters Pending
21           There are no pending related matters.

22   XIII. Compliance with Federal Procedure
23           All counsel are expected to familiarize themselves with the Federal Rules of Civil Procedure

24   and the Local Rules of Practice of the Eastern District of California, and to keep abreast of any

25   amendments thereto. The Court must insist upon compliance with these Rules to efficiently handle its

26   increasing case load, and sanctions will be imposed for failure to follow both the Federal Rules of Civil

27   Procedure and the Local Rules of Practice for the Eastern District of California.

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1    XIV. Effect of this Order
2           The foregoing order represents the best estimate of the court and counsel as to the agenda most

3    suitable to dispose of this case. The trial date reserved is specifically reserved for this case. If the

4    parties determine at any time that the schedule outlined in this order cannot be met, counsel are ordered

5    to notify the court immediately of that fact so that adjustments may be made, either by stipulation or by

6    subsequent status conference.

7           The dates set in this Order are considered to be firm and will not be modified absent a
8    showing of good cause even if the request to modify is made by stipulation. Stipulations

9    extending the deadlines contained herein will not be considered unless they are accompanied by
10   affidavits or declarations, and where appropriate attached exhibits, which establish good cause

11   for granting the relief requested.
12          Failure to comply with this order may result in the imposition of sanctions.

13
14   IT IS SO ORDERED.

15      Dated:     September 1, 2016                             /s/ Jennifer L. Thurston
16                                                       UNITED STATES MAGISTRATE JUDGE

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